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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                Case No. 1:13-cr-00091-BLW
                      Plaintiff,
                                                MEMORANDUM DECISION AND
 v.                                             ORDER

 MARK A. ELLISON,

                      Defendant.




                                    INTRODUCTION

       Before the Court is a claim from Karen Ijichi Perkins for decedent Kosuke Ijichi’s

remaining restitution from USA v. Ellison, et. al. For the reasons that follow, the Court

will grant Karen Ijichi Perkins’s request.

                                    BACKGROUND

       On April 14, 2014, the Jury returned a guilty verdict against Defendant Mark A.

Ellison on 44 counts of securities fraud. (Dkt. 502, 816.) A judgment of conviction was

entered on August 25, 2014, finding Ellison guilty on counts 4 – 13, 36- 45, 49-52, 56,

62, 67, 72 – 80, and 82 – 89 of the Superseding Indictment. (Dkt. 21, 724.) In addition to

a term of imprisonment and supervised release, the Court ordered Ellison to pay

$32,158,501.00 in restitution. Nov. 17, 2024, Restitution Order. (Dkt. 816.) As of

February 15, 2024, Ellison still owed $28,197,133.65 in restitution. (Dkt. 1054.)

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       The Court is tasked with distributing restitution payments deposited with the Court

to the victims. Unfortunately, since the 2014 judgment, many of the victims entitled to

restitution passed away and left unclaimed funds in possession of the Court.

As a result, the Clerk of the Court sent notice to individuals with a potential interest in the

unclaimed funds. In response, claimant Karen Ijichi Perkins submitted a request to have

the unclaimed restitution payments related to decedent Kosuke Ijichi released to her. In

support of her request, Karen Ijichi Perkins submitted the following documents: (1) a

victim affidavit; (2) a copy of the certificate of death for Kosuke Ijichi; and, (3) a

notarized copy of the Revocable Trust of Kosuke Ijichi.

                                   LEGAL STANDARD

       Although money paid to federal courts generally must be deposited with the

Treasury, courts are also allowed to deliver funds to their rightful owners. See 28

U.S.C. § 2041. Indeed, “[a]ny claimant entitled to any such money may, on petition to the

court and upon notice to the United States attorney and full proof of the right thereto,

obtain an order directing payment to him.” 28 U.S.C. § 2042. However, this means the

claimant “bears the burden of affirmatively establishing his entitlement to the funds[.]” In

re Pena, 974 F.3d 934, 940 (9th Cir. 2020); see also Hansen v. United States, 340 F.2d

142, 144 (8th Cir. 1965) (“the burden is upon the claimant to show his right to the

fund.”).




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                                        ANALYSIS

       Karen Ijichi Perkins has provided sufficient evidence to show she is entitled to

receive Kosuke Ijichi’s remaining restitution. Kosuke Ijichi’s certificate of death shows

that he passed away on November 18, 2012, as a resident of California, and that his

spouse predeceased him. Prior to his death, Kosuke Ijichi executed the Revocable Trust

of Kosuke Ijichi dated October 15, 2002. The initial trustee of the trust was Kosuke Ijichi,

and upon his death or his failure to appoint a successor trustee, Karen Perkins is to act as

successor trustee. Article Six of the trust provides that the trustee is vested with the

authority to manage and control all trust property.

       Under California law, a trustee has the power to collect, hold, and distribute trust

property. Cal. Prob. Code § 16220 (West). Accordingly, as Trustee, Karen Ijichi Perkins

is entitled to receive Kosuke Ijichi’s restitution and distribute it in accordance with

Kosuke Ijichi’s estate plan.




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                                       ORDER

     NOW THEREFORE IT IS HEREBY ORDERED:

  1) Karen Ijichi Perkins’s request for Kosuke Ijichi’s unclaimed restitution payments

     from USA v. Ellison, et. al., is GRANTED.

  2) The Clerk of the Court shall release the funds to Karen Ijichi Perkins, Trustee of

     the Revocable Trust of Kosuke Ijichi dated October 15, 2002, to be disposed of in

     accordance with the terms of the Revocable Trust of Kosuke Ijichi and Kosuke

     Ijichi’s estate plan.



                                               DATED: June 25, 2024


                                               _________________________
                                               B. Lynn Winmill
                                               U.S. District Court Judge




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